                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                           HARRISON DIVISION

UNITED STATES OF AMERICA                                     PLAINTIFF

           v.          No. 3:11-cr-30006-002

FRANKIE MAYBEE                                               DEFENDANT


                                O R D E R

      Now on this 30th day of July 2013, comes on for consideration

the Magistrate Judge's Report and Recommendation (document #94),

the   government's   comments     (document   #96),   and   defendant's

objections (document #97). The Court has reviewed the Report and

Recommendation and, being well and sufficiently advised, finds

that it is sound in all respects, and that Plaintiff has stated

neither law nor fact to refute the Recommendation.

      IT IS THEREFORE ORDERED that the Magistrate Judge's Report

and Recommendation (document #94) is hereby adopted in toto and

that defendant's objections are overruled.

      IT IS FURTHER ORDERED that, for the reasons stated in the

Report and Recommendation, defendant's Motion to Vacate, Correct,

or Set Aside the Term of Imprisonment Pursuant to 28 U.S.C. § 2255

(document #87) is hereby denied and dismissed with prejudice.

      IT IS SO ORDERED.



                                      /s/ Jimm Larry Hendren
                                     JIMM LARRY HENDREN
                                     UNITED STATES DISTRICT JUDGE
